Case 5:06-cr-50054-JLH       Document 125             Filed 04/24/07   Page 1 of 1 PageID #: 258




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
 v.                                          )          Criminal No. 06-50054-003
                                             )
MAGDA CASTILLO                               )


                                   ORDER OF DISMISSAL


       Now on this same day the above referenced matter comes on for consideration the

government's Motion to Dismiss (document #124) the Indictment in this matter without prejudice

with respect to defendant Magda Castillo. The Court finds that the motion, made pursuant to

Rule 48(a) of the Federal Rules of Criminal Procedure should be, and it hereby is granted.

       IT IS, THEREFORE, ORDERED that the Indictment with respect to Magda Castillo filed

in the above-entitled and numbered cause is hereby dismissed without prejudice.

       Entered on this 24th day of April, 2007.


                                              /s/ Jimm Larry Hendren
                                             JIMM LARRY HENDREN
                                             CHIEF U. S. DISTRICT JUDGE




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